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10
                                UNITED STATES DISTRICT COURT
11
12                      FOR THE EASTERN DISTRICT OF CALIFORNIA
13   UNITED STATES and the STATE OF              Case No. 1:15-CV-00433-DAD-EPG
14   CALIFORNIA ex rel. NICOLLE
     O’NEILL, NICOLLE O’NEILL                    STIPULATION REGARDING
15                                               RELATOR NICOLLE O’NEILL’S
                                                 MOTION FOR EVIDENTIARY
16                          Plaintiffs/Relator   SANCTIONS
17
                vs.
18
19   SOMNIA, INC., PRIMARY
     ANESTHESIA SERVICES, PST
20   SERVICES LLC, ROBERT              Complaint Filed: March 19, 2015
21   GOLDSTEIN, M.D., ROY WINSTON,
     M.D., BYRON MENDENHALL, M.D.,
22
     QUINN GEE, M.D., AND MARGARET
23   VASSILEV, M.D, and DOES 1 through
     10, inclusive
24
25                          Defendants.
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27
28

           STIPULATION ON PLAINTIFF NICOLLE O’NEILL’S MOTION FOR EVIDENTIARY SANCTIONS

     4819-1552-1008.1
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              STIPULATION REGARDING PLAINTIFF NICOLLE O’NEILL’S MOTION FOR EVIDENTIARY
                                             SANCTIONS

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              STIPULATION REGARDING PLAINTIFF NICOLLE O’NEILL’S MOTION FOR EVIDENTIARY
                                             SANCTIONS

     4819-1552-1008.1
 1              Relator Nicolle O’Neill (“Relator”) and defendants Somnia, Inc. (“Somnia”),
 2   Primary Anesthesia Services, P.C., Byron Mendenhall, M.D., Quinn Gee, M.D., and
 3   Margaret Vassilev, M.D. (collectively “Defendants”), by and through their
 4   respective counsel of record, stipulate as follows:
 5              1.       WHEREAS, counsel for Relator and counsel for Defendants
 6   (collectively, the “Parties”), along with their respective medical and billing experts,
 7   met and conferred for several months to negotiate a sampling protocol to assist the
 8   Parties in efficiently analyzing the medical and billing records in this case.
 9              2.       WHEREAS, the Parties eventually entered into a Stipulation Regarding
10   Sampling Protocol (“Sampling Protocol”) in which they agreed to implement two
11   sampling designs: (a) a “Sample of Calendar Days” in which a random sample of 40
12   calendar days is selected and all patient encounters on those sample days are
13   reviewed; and (b) a “Sample of Patient Encounters” in which a random sample of
14   200 patient encounters is selected and reviewed.1
15              3.       WHEREAS, under the Sampling Protocol:
16                       a.    The Sample of Calendar Days can be used to derive alleged
17                             damages and/or penalties stemming from violations of rules
18                             regarding (i) personally performed anesthesia services pursuant
19                             to 42 C.F.R. § 414.46; (ii) concurrency for billing anesthesia
20                             services to Medicare pursuant to 42 C.F.R. § 415.110(a)(2); (iii)
21                             failures in TEFRA documentation pursuant to 42 C.F.R. §
22                             415.110(a)(1), (b); or (iv) any combination of (i), (ii), or (iii). See
23                             Sampling Protocol, § IV(8)(a). The Sample of Calendar Days
24                             can also be used to determine the number and dollar amount of
25                             alleged false claims in which the requirements of 42 C.F.R. §§
26
27
     1
             A “patient encounter” refers to anesthesia services provided to a particular patient beginning
     on the specific date chosen in the random sample until completed (even if anesthesia services are
28   not concluded for that patient until the next calendar day) and not to any other date(s) separate
     anesthesia services were provided to that patient.
                     STIPULATION REGARDING PLAINTIFF NICOLLE O’NEILL’S MOTION FOR EVIDENTIARY
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 1                             415.110(a)(1), (2), (b), or 414.46 were not met. See Sampling
 2                             Protocol, § IV(9)(a).
 3                       b.    The Sample of Patient Encounters can be used to derive alleged
 4                             damages and/or penalties stemming from deficiencies in TEFRA
 5                             documentation pursuant to 42 C.F.R. § 415.110(a)(1), (b), or
 6                             failure to meet the requirements of 42 C.F.R. § 414.46 for billing
 7                             for anesthesia services as personally performed. They cannot be
 8                             used to derive alleged damages and/or penalties stemming solely
 9                             from deficiencies related to concurrency pursuant to 42 C.F.R. §
10                             415.110(a)(2). See Sampling Protocol, § IV(8)(b). The Sample
11                             of Patient Encounters can also be used to determine the number
12                             and dollar amount of alleged false claims in which the
13                             requirements of 42 C.F.R. §§ 415.110(a)(1), (b), or 414.46 were
14                             not met. See Sampling Protocol, § IV(10)(a).
15              4.       WHEREAS, under the Sampling Protocol, Somnia agreed to produce
16   certain documents relating to anesthesia services provided for the patient encounters
17   in the Sample of Calendar Days and Sample of Patient Encounters. See Sampling
18   Protocol, §§ II–III.
19              5.       WHEREAS, on December 8, 2020, the Parties entered into a Joint
20   Stipulation to Continue Schedule, which, among other things, stated that the Parties
21   “are hopeful that [the process of retrieving the agreed upon documents] … will result
22   in no additional unforeseen complications, technical or otherwise, and therefore
23   Somnia estimates that it will provide Relator with all relevant records for the patient
24   encounters sample and calendar day sample by January 25, 2021.” (ECF 146.)
25              6.       WHEREAS, Somnia did not complete its production of documents
26   called for under the Sampling Protocol by January 25, 2021. The Parties engaged in
27   numerous meet and confer communications regarding the outstanding production.
28              7.       WHEREAS, Somnia contends that it encountered unforeseen

                     STIPULATION REGARDING PLAINTIFF NICOLLE O’NEILL’S MOTION FOR EVIDENTIARY
                                                    SANCTIONS
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 1   complications that delayed the production of documents called for under the
 2   Stipulation Regarding Sampling Protocol.
 3              8.       WHEREAS, the Court held a discovery conference on May 3, 2021 to
 4   address the document production dispute. (ECF 157.) As of that conference,
 5   Somnia’s production remained incomplete. At that conference, the Court ruled that
 6   Relator was permitted to file a motion for evidentiary sanctions in connection with
 7   the document production dispute.
 8              9.       WHEREAS, on June 10, 2021, the Court held a follow-up discovery
 9   conference to hear arguments on Relator’s motion for evidentiary sanctions related
10   to the dispute regarding document production. (ECF 171, 176.) At the June 10
11   conference, the Court declined to issue Relator’s requested sanctions but permitted
12   Relator to supplement her motion to request alternative forms of relief. (ECF 176.)
13              10.      WHEREAS, the Court scheduled argument on Relator’s request for
14   alternative forms of relief for June 28, 2021.
15              11.      WHEREAS, on June 18, 2021, Relator filed a supplement to her motion
16   for evidentiary sanctions to request alternative forms of relief. (ECF 180.)
17              12.      WHEREAS, the Parties have since engaged in additional meet-and-
18   confer discussions.
19              13.      THEREFORE, the Parties agree to resolve this discovery dispute as
20   follows:
21                       a.    The Parties agree that neither Relator nor Defendants will
22                             complete any expert analysis and/or audit of the Sample of
23                             Calendar Days for any purpose in this litigation.
24                       b.    As previously agreed in the Sampling Protocol, the Sample of
25                             Patient Encounters cannot be used to derive alleged damages
26                             and/or penalties stemming from deficiencies related solely to
27                             concurrency pursuant to 42 C.F.R. § 415.110(a)(2). Thus, since
28                             the Parties will not be completing any expert analysis and/or

                     STIPULATION REGARDING PLAINTIFF NICOLLE O’NEILL’S MOTION FOR EVIDENTIARY
                                                    SANCTIONS
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 1                           audit of the Sample of Calendar Days, the Parties agree that any
 2                           alleged damages and/or penalties in this matter will not be based
 3                           on alleged deficiencies related solely to concurrency pursuant to
 4                           42 C.F.R. § 415.110(a)(2), although evidence relating to
 5                           concurrency may be presented for purposes of liability.
 6                      c.   The Parties agree that neither Relator nor Defendants will object
 7                           to the opposing Party’s expert analysis and/or results related to
 8                           the Sample of Patient Encounters as an inappropriate method of
 9                           identifying the number and dollar amount of alleged false claims
10                           or of analyzing alleged damages and/or penalties in this matter
11                           because the opposing Party did not complete an expert analysis
12                           and/or audit of the Sample of Calendar Days. The Parties agree
13                           that the Party’s expert analyses and/or audits of the Sample of
14                           Patient Encounters may be used for the purposes agreed upon for
15                           that sample in the Stipulation Regarding Sampling Protocol.
16
17              IT IS SO STIPULATED
18    Dated: June 25, 2021              SCHONBRUN SEPLOW HARRIS
                                        HOFFMAN & ZELDES LLP
19
20                                      TYCKO & ZAVAREEI LLP
21                                      By: ____/s/Sarah L. Dawley________________
22                                            Sarah L. Dawley
                                        Attorneys for Plaintiff/Relator Nicolle O’Neill
23
      Dated: June 25, 2021              NIXON PEABODY LLP
24
25                                      By: ____/s/ Brian French_________________
                                              Brian French
26                                      Attorneys for Defendants
                                        SOMNIA, INC., PRIMARY ANESTHESIA
27                                      SERVICES, P.C., BYRON MENDENHALL, M.D.,
                                        QUINN GEE, M.D., and MARGARET VASSILEV,
28                                      M.D.

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